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Case 1:20-cv-01

637-YK-EB Document9 Filed 10/09/20 Page 2 of 17

 

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Case 1:20-cv-01637-YK-EB Document9 Filed 10/09/20 Page 3 of 17

 

 

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Case 1:20-cv-01637-YK-EB Document9 Filed 10/09/20 Page 4 of 17

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Case 1:20-cv-01637-YK-EB Document9 Filed 10/09/20 Page 5 of 17

 

 

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Case 1:20-cv-01637-YK-EB Document9 Filed 10/09/20 Page 7 of 17

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Case 1:20-cv-01637-YK-EB Document9 Filed 10/09/20 Page 9 of 17

 

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Case 1:20-cv-01637-YK-EB Document9 Filed 10/09/20 Page 12 of 17

 

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